Case 1:19-cv-00410-NT Document 109 Filed 04/26/21 Page 1 of 5          PageID #: 986




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MAINE

COMCAST OF MAINE/NEW HAMPSHIRE,
INC.; A&E TELEVISION NETWORKS,
LLC; C-SPAN; CBS CORP.; DISCOVERY,
INC.; DISNEY ENTERPRISES, INC.; FOX
CABLE NETWORK SERVICES, LLC;
NBCUNIVERSAL MEDIA, LLC; NEW
ENGLAND SPORTS NETWORK, LP; and                    Case No. 1:19-cv-00410-NT
VIACOM INC.,

                        Plaintiffs,            STIPULATED FINAL JUDGMENT AND
                                               ORDER FOR DECLARATORY AND
            v.                                 PERMANENT INJUNCTIVE RELIEF

JANET MILLS, in her official capacity as the
Governor of Maine; AARON FREY, in his
official capacity as the Attorney General of
Maine; the CITY OF BATH, MAINE; the
TOWN OF BERWICK, MAINE; the TOWN
OF BOWDOIN, MAINE; the TOWN OF
BOWDOINHAM, MAINE; the TOWN OF
BRUNSWICK, MAINE; the TOWN OF
DURHAM, MAINE; the TOWN OF ELIOT,
MAINE; the TOWN OF FREEPORT,
MAINE; the TOWN OF HARPSWELL,
MAINE; the TOWN OF KITTERY, MAINE;
the TOWN OF PHIPPSBURG, MAINE; the
TOWN OF SOUTH BERWICK, MAINE; the
TOWN OF TOPSHAM, MAINE; the TOWN
OF WEST BATH, MAINE; and the TOWN
OF WOOLWICH, MAINE;

                        Defendants.
Case 1:19-cv-00410-NT Document 109 Filed 04/26/21 Page 2 of 5                     PageID #: 987




       Plaintiffs in this case are a cable operator and nine cable programmers. Plaintiffs filed a

Complaint for declaratory and injunctive relief against Defendants, the Governor and Attorney

General of Maine, along with numerous Maine municipalities, alleging that H.P. 606 – L.D. 832,

129th Leg., Pub. Law, ch. 308 (Me. 2019) (codified at Me. Stat. tit. 30-A, § 3008(3)(F) (2019))

(“Chapter 308”), titled “An Act to Expand Options for Consumers of Cable Television in

Purchasing Individual Channels and Programs,” (1) is preempted by the Communications Act of

1934 (the “Communications Act”), as amended, and (2) violates the First Amendment to the U.S.

Constitution. Plaintiffs sought declaratory and injunctive relief. Plaintiffs and the remaining

Defendants—the Governor and Attorney General of Maine—stipulate to the entry of this

Stipulated Final Judgment and Order for Declaratory and Permanent Injunctive Relief (“Order”).

                                           FINDINGS

       1.      This Court has jurisdiction over this matter.

       2.      On June 3, 2019, the Maine Legislature passed Chapter 308, “An Act to Expand

Options for Consumers of Cable Television in Purchasing Individual Channels and Programs.”

Chapter 308 provides that “[n]otwithstanding any provision in a franchise, a cable system

operator shall offer subscribers the option of purchasing access to cable channels, or programs on

cable channels, individually.” Me. Stat. tit. 30-A, § 3008(3)(F). Chapter 308 was enacted on

June 15, 2019, when the Governor permitted it to become law without signature.

       3.      Plaintiffs filed the Complaint in this case on September 6, 2019. The Complaint

contains two claims for relief—Count I alleges that Chapter 308 is preempted by the

Communications Act and Count II alleges that Chapter 308 violates the First Amendment to the

U.S. Constitution.




                                                 1
Case 1:19-cv-00410-NT Document 109 Filed 04/26/21 Page 3 of 5                       PageID #: 988




       4.      Defendants neither admit nor deny any of the allegations in the Complaint, except

as specifically stated in this Order. Defendants admit the facts necessary to establish jurisdiction.

       5.      On December 20, 2019, this Court granted Plaintiffs’ motion for a preliminary

injunction. Comcast of Maine/New Hampshire, Inc. v. Mills, 435 F. Supp. 3d 228 (D. Me. 2019),

aff’d, 988 F.3d 607 (1st Cir. 2021). The Court held that “Plaintiffs are likely to succeed on their

First Amendment claim.” Id. at 249. The Court did not grant Plaintiffs’ motion for a

preliminary injunction as to the preemption claim, concluding that they had not demonstrated a

likelihood of success under any provision of the Communications Act. Id. at 244.

       6.      On February 24, 2021, the First Circuit affirmed this Court’s December 20, 2019

ruling on Plaintiffs’ motion for a preliminary injunction. Comcast of Maine/New Hampshire,

Inc. v. Mills, 988 F.3d 607 (1st Cir. 2021). The First Circuit held that “Chapter 308 triggers

heightened First Amendment scrutiny” and explained that the “state has acknowledged that it

cannot meet any heightened level of scrutiny on this record.” Id. at 617. The First Circuit “d[id]

not reach any preemption issues,” instead stating that “the parties and the court are free to revisit

the question of preemption on a more fully developed record, if they choose to do so.” Id. at

612, 617.

       7.      As the First Circuit contemplated, Plaintiffs intended to more fully develop the

record and revisit the question of preemption before this Court.

       8.      In light of the Parties’ agreement regarding the entry of this Order, Plaintiffs agree

to the dismissal without prejudice of their claim that Chapter 308 is preempted by federal law

(Count I).

       9.      Plaintiffs and Defendants waive all rights to appeal or otherwise challenge or

contest the validity of this Order.



                                                  2
Case 1:19-cv-00410-NT Document 109 Filed 04/26/21 Page 4 of 5                     PageID #: 989




       10.     Plaintiffs and Defendants agree to bear their own costs and attorneys’ fees.

                               DECLARATORY JUDGMENT

       IT IS HEREBY ORDERED that, based on the Defendants’ concession, Chapter 308

violates the First Amendment to the U.S. Constitution and judgment is entered in Plaintiffs’

favor on Count II.

                                   PERMANENT INJUNCTION

       IT IS FURTHER ORDERED that Defendants are permanently enjoined from enforcing

or giving effect to Chapter 308.

                              DISMISSAL OF OTHER CLAIM

       IT IS FURTHER ORDERED that Count I—alleging that Chapter 308 is preempted by

federal law—is dismissed without prejudice.

       IT IS SO ORDERED this 26th day of April, 2021.



                                                 /s/ Nancy Torresen
                                                 United States District Court Judge



       IT IS SO STIPULATED this 23rd day of April, 2021.

                                                     /s/ Joshua A. Tardy
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                                                3
Case 1:19-cv-00410-NT Document 109 Filed 04/26/21 Page 5 of 5          PageID #: 990




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     IT IS SO STIPULATED this 23rd day of April, 2021.


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                                        4
